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   11
   12                      UNITED STATES DISTRICT COURT
   13           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   14
   15 NETLIST INC., a Delaware                   CASE NO. 8:20-cv-00993-MCS-ADS
      corporation,,
   16                                            DEFENDANT SAMSUNG
                    Plaintiff,                   ELECTRONICS CO., LTD’S
   17                                            OPPOSITION TO PLAINTIFF
            vs.                                  NETLIST, INC.’S MOTION TO
   18                                            COMPEL DEPOSITIONS OF JUNG
      SAMSUNG ELECTRONICS CO.,                   BAE LEE AND JOO SUN CHOI
   19 LTD., a Korean corporation,,
                                                 [Discovery Document: Referred to
   20               Defendant.                   Magistrate Judge Autumn D. Spaeth]
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    1 I.            Introduction
    2               The apex doctrine is a “judicially-created vehicle [which] seeks to limit the
    3 potential for discovery rules to serve as a tool for harassment.” Apple Inc. v.
    4 Samsung Electronics Co., Ltd., 282 F.R.D. 259, 263 (N.D. Cal. 2012). Plaintiff
    5 Netlist Inc.’s (“Netlist") attempt to depose Jung Bae Lee and Joo Sun Choi – both
    6 corporate presidents who sit at the apex of multi-billion dollar businesses – is
    7 precisely the sort of conduct that the apex doctrine was created to prevent. As a
    8 threshold matter, Netlist’s assertion that these depositions are critical to their case is
    9 belied by their half-hearted efforts to obtain them: despite being represented by
   10 capable counsel for over a year since the filing of this action, Netlist never even
   11 attempted to properly serve Mr. Choi – who is a resident of South Korea and no
   12 longer an employee of Defendant Samsung Electronics Co., Ltd. (“Samsung”) –
   13 under the procedures of the Hague Evidence Convention. Chevron Corp. v. Salazar,
   14 275 F.R.D. 422, 426 (S.D.N.Y. 2011) (“only a party may be compelled to give
   15 testimony pursuant to a simple notice.”) (citing 7 Moore’s Federal Practice §
   16 30.03[2], at 30–18 (3d ed. 2010)).
   17               Moreover, Netlist fails to demonstrate that either witness possesses unique
   18 first-hand, non-repetitive knowledge, or that it has exhausted less intrusive
   19 discovery methods. WebSideStory, Inc. v. NetRatings, Inc., 2007 WL 1120567, at *2
   20 (S.D. Cal. Apr. 6, 2007). Instead, it simply asserts without legal basis that the court
   21 should skip over the relevant legal analysis because there is not much time left in
   22 fact discovery. This is largely an urgency manufactured by Netlist itself: despite
   23 filing this action in May 2020, Netlist did not notice the deposition of either apex
   24 witness – or indeed any witness at all – until June 8, 2021.
   25               Deposition of apex witnesses carries “a tremendous potential for abuse or
   26 harassment.” Celerity Inc. v. Ultra Clean Holding, Inc., 2007 WL 205067, at *3
   27 (N.D. Cal. Jan. 25, 2007). That potential is at its “apex” here, when such depositions
   28 are clearly being pursued in a half-hearted, hasty manner in order to gain an
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    1 improper strategic advantage. The Court should deny Netlist’s motion.
    2 II.           Mr. Choi is a Non-Party Foreign Resident, and Netlist Has Not Properly
    3               Served Him In Accordance With The Hague Evidence Convention.
    4               Netlist’s motion is misdirected as to Mr. Choi, a South Korean resident who is
    5 no longer an employee of Samsung, and who Netlist never properly subpoenaed
    6 through the Hague Evidence Convention. The Letter of Request process of the
    7 Hague Evidence Convention is the exclusive means through which discovery of
    8 testimony or documents may be compelled from non-party foreign residents not
    9 subject to the jurisdiction of U.S. Courts. See, e.g., Tulip Computers Intern. B.V. v.
   10 Dell Computer Corp., 254 F.Supp.2d 469, 474 (D. Del. 2003); Metso Minerals Inc.
   11 v. Powerscreen Intern. Distribution Ltd., 2007 WL 1875560, at *3 (E.D.N.Y. June
   12 25, 2007). South Korea is a state party to the Hague Evidence Convention, and
   13 requires that all requests for evidence be transmitted directly to the Korean Central
   14 Authority for approval. 1
   15               Instead, Netlist provided notice to Samsung, Mr. Choi’s former employer.
   16 “[O]nly a party may be compelled to give testimony pursuant to a simple notice.”
   17 Chevron, 275 F.R.D. at 426. As Netlist concedes, Mr. Choi is not an employee of
   18 Samsung but the President and CEO of Samsung Display (“Display”) 2, a partial
   19 subsidiary of Samsung which is not a party to this action. Thus, Netlist’s attempt to
   20 compel the deposition of Mr. Choi through mere notice to Samsung – not to Mr.
   21 Choi personally or even to Display – is an extralegal attempt to circumvent the
   22
   23   1
         See Declaration of Christopher J. Lee (“C. Lee Decl.”) Exh. A, U.S. Department
   24 of State, Judicial Assistance Country Information: South Korea, available at
      https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
   25 Information/KoreaRepublicof.html, last retrieved July 27, 2021.
   26 2
         See C. Lee Decl. Exh. B, Samsung Display, Greetings from the CEO, available at
   27 https://www.samsungdisplay.com/eng/intro/message.jsp, last retrieved July 27,
   28 2021.
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    1 Hague Evidence Convention and South Korea’s sovereign right to control service of
    2 foreign evidence requests within its borders. See Ethypharm S.A. France v. Abbott
    3 Lab’ys, 271 F.R.D. 82, 92 (D. Del. 2010).
    4               The plaintiff in Ethypharm made exactly the same argument that Netlist is
    5 making here: that “litigating corporate parents are deemed to control the current
    6 employees of their subsidiaries and affiliates for deposition purposes[,]” and thus a
    7 party’s ownership of a foreign subsidiary “obviates the necessity of seeking
    8 discovery [from employees of that subsidiary] under the protocols of the Hague
    9 Convention.” 271 F.R.D. at 88. The Ethypharm Court squarely rejected that
   10 argument, holding that “Rule 30 of the Federal Rules of Civil Procedure does not
   11 require a party to litigation to produce persons for deposition who are merely
   12 alleged to be in the party's control . . . If the person sought for deposition is not
   13 within the subpoena power of a United States court, then procedures according to
   14 international treaty must be followed.” Id. at 92 (emphasis added). Notably, the
   15 Court reached this conclusion despite the fact that the relevant entity was a wholly-
   16 owned foreign subsidiary – unlike Display, which is only partially owned by
   17 Samsung. Thus, Netlist’s case for circumvention of the Hague Convention here is
   18 even weaker than that in Ethypharm, and fails for the same reasons. 3
   19               This case was filed over a year ago. If Netlist had a genuine need for Mr.
   20
   21   3
            Even if the Hague Convention were disregarded, and even if Netlist were
   22   seeking only document discovery from Display, it would still be required to
        demonstrate that Samsung’s relationship with Display gives Samsung a legal right
   23   to obtain such documents on demand. In re Citric Acid Litig., 191 F.3d 1090, 1107
   24   (9th Cir. 1999); see also Afros S.P.A. v. Krauss-Maffei Corp., 113 F.R.D. 127, 129
        (D. Del. 1986) (discovery from adversary’s foreign subsidiary requires factual
   25   showing as to (1) the parent’s ownership share in the subsidiary; (2) interlocking
   26   management structures; and (3) control exercised by the parent over the subsidiary’s
        directors, officers, and employees). Netlist does not attempt to make even this lesser
   27   showing other than citing to the two words “controlling Company” buried in the
   28   midst of an auditor’s report translated from the original Korean. (See Dkt. No. 84-7).

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    1 Choi’s deposition, it has had more than enough time to serve him based on the
    2 proper procedures under the Hague Evidence Convention. Netlist chose not to do so,
    3 and the Court should not reward its lack of diligence by facilitating this last-minute
    4 attempt to make an end-run around both U.S. and international law.
    5 III.          Netlist Has Not Demonstrated That The Apex Witnesses Have Unique
    6               Personal Knowledge
    7               A.    Legal Standard
    8               “When determining whether to allow an apex deposition, courts often
    9 consider: (1) whether or not the high-level deponent has unique first-hand, non-
   10 repetitive knowledge of the facts at issue in the case; and (2) whether the party
   11 seeking the deposition has exhausted other less intrusive discovery methods, such as
   12 interrogatories and depositions of lower level employees.” WebSideStory, 2007 WL
   13 1120567, at *2 (emphasis added). Generalized statements that fail to show how the
   14 knowledge is “unique” to the witness fall short of satisfying the first factor. Dauth v.
   15 Convenience Retailers, LLC, 2013 WL 4103443, at *2 (N.D. Cal. Aug. 12, 2013).
   16 Even where an “apex” witness is subject to a deposition due to “personal knowledge
   17 of facts relevant to the lawsuit,” that is limited to situations where that personal
   18 knowledge is unique to the witness. Apple v. Samsung, 282 F.R.D. at 263, citing
   19 WebSideStory, 2007 WL 1120567 at *2-3.
   20               “Additionally, courts generally refuse to allow the immediate deposition of a
   21 high level executive . . . before the testimony of lower level employees with more
   22 intimate knowledge of the case has been secured.” Iacono v. Int’l Bus. Machines
   23 Corp., 2019 WL 2932638, at *3 (C.D. Cal. Jan. 8, 2019). Courts also evaluate the
   24 questions that the party seeking depositions claims to need answered to determine if
   25 the deposition is likely to yield “unique and relevant information” and is not sought
   26 for an improper purpose, such as “simply to embarrass.” See Rookaird v. BNSF Ry.
   27 Co., 2015 WL 11233096, at *2 (W.D. Wash. July 8, 2015).
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    1               B.    Both Witnesses Are Sufficiently Highly Placed To Trigger the
    2                     Balancing Test Under the Apex Doctrine.
    3               The apex doctrine calls for a balancing test between the apex status of a
    4 witness on the one hand, and “the materiality of the proposed deponent’s knowledge
    5 of pertinent facts and the availability of other means for the party to access that
    6 knowledge” on the other. Apple v. Samsung, 282 F.R.D. at 263. Given the
    7 “tremendous potential for abuse or harassment” involved in deposing high-level
    8 executives, once a witness is shown to be near “the apex of some particular peak in
    9 the corporate mountain range,” a showing of unique personal knowledge must be
   10 made. Id. There is no requirement that the proposed deponent be the highest-ranking
   11 officer, and because “abuse and harassment” would occur at the time of deposition,
   12 it is the proposed deponent’s current position that is relevant to the inquiry. See id.
   13 at 264-65 (denying deposition of a current “President” of Samsung because he
   14 currently “inhabits a key, high-level position”). The fact that Samsung is a
   15 multinational conglomerate that encompasses many separate entities and thus has
   16 many high-level executives does not by itself deprive its executives of apex status.
   17 Notably, the court in Apple v. Samsung found that “Presidents” and “Executive Vice
   18 Presidents” at Samsung have sufficient apex status to trigger the balancing test
   19 against “unique personal knowledge.” Id. at 265-67.
   20               Assuming for the sake of argument that Samsung can somehow be compelled
   21 to produce Mr. Choi, a non-party and a non-employee, he indisputably sits at the
   22 apex of his own corporate mountain range with approximately 73,000 employees
   23 worldwide. He is President and Chief Executive Officer of Display, a corporation
   24 that, according to an exhibit submitted by Netlist, recorded approximately $6 billion
   25 in sales in the first quarter of 2021 alone. (Dkt. No. 84-7 at 23). It is difficult to
   26 conceive of a more “apex” witness.
   27               On the other hand, Mr. Lee is the President and General Manager of
   28 Samsung’s Memory Business. (Declaration of Jung Bae Lee (“Jung Bae Lee
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    1 Decl.”), ¶ 2). In this capacity, Mr. Lee is the highest ranking officer of a $47-billion-
    2 dollar international enterprise which encompasses 30,000 employees in 33 offices
    3 across the world. (Id. ¶¶ 2, 3). His role in Samsung’s corporate structure is only one
    4 level removed from the CEO. (Id. ¶ 2). Mr. Lee is clearly near the peak of his
    5 corporate ladder.
    6               In sum, both of these individuals are either at or near the apex of their
    7 respective corporate peaks. Therefore, to justify their deposition despite the risk of
    8 abuse and harassment, Netlist must demonstrate two things: (1) that they possess
    9 unique personal knowledge; and (2) other discovery methods have been exhausted
   10 and no less intrusive means of discovery is practical. Netlist has done neither.
   11               C.    Neither Witness Has Unique Personal Knowledge
   12               Netlist has not shown that either Mr. Choi or Mr. Lee has unique first-hand,
   13 non-repetitive knowledge of the facts at issue in the case. While Netlist alleges that
   14 Mr. Lee was involved in the negotiation of the JDLA and some aspects of its
   15 performance, these generalized assertions are not sufficient to carry their burden of
   16 showing how Mr. Lee’s knowledge is unique. Dauth, 2013 WL 4103443 at *2.
   17               In his sworn declaration attached to this opposition, Mr. Lee testifies that he
   18 does not have any unique personal information relevant to this litigation that could
   19 not be obtained from others at Samsung. Jung Bae Lee Decl. ¶ 9. While Mr. Lee
   20 was included on some emails relating to the JDLA due to his position at the time, he
   21 had minimal involvement in the substance of the negotiation, and no involvement
   22 whatsoever regarding the terms at issue here (regarding supply or taxation). Id. ¶ 5.
   23 Mr. Lee was chosen to sign the JDLA due to his position at the time, but his
   24 decision to sign was based on information given to him by others in the company.
   25 Id. ¶ 6. After signing, he had no direct involvement with the sale of NAND and
   26 DRAM products to Netlist. Id. ¶ 8. While Mr. Lee recalls meeting with Netlist
   27 executives in April 2015, none of the relevant terms of the JDLA were discussed. Id.
   28 ¶ 7. In any case, Netlist has less intrusive means to discover what was discussed at
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    1 this meeting given that Indong Kim was also at the meeting, and will be produced
    2 for deposition in this matter. Id.
    3               As for Mr. Choi, who in any case was never properly served, Netlist’s
    4 argument relies entirely on a hearsay statement in a declaration provided by a Netlist
    5 executive, who claims that he heard from Neal Knuth (a Samsung employee) that
    6 Mr. Choi had decreased Netlist’s allocation. (Dkt. 84-18 at ¶ 8). Netlist never
    7 alleges that it ever met or contacted Mr. Choi personally. And, to the extent that Mr.
    8 Choi was actually involved in this decision, relevant information could be obtained
    9 through the testimony of Mr. Knuth, who is being deposed in this matter.
   10               In short, while Mr. Lee and/or Mr. Choi may have some knowledge of
   11 relevant facts, Netlist has not carried its burden to show that such knowledge is
   12 unique or non-repeatable. WebSideStory, 2007 WL 1120567, at *2. 4
   13               D.    Other Discovery Methods Have Not Been Exhausted
   14               Moreover, other less intrusive discovery methods have not been exhausted in
   15 this case. Netlist has noticed depositions for eight other witnesses, all of which
   16 Samsung has offered to produce. Netlist offers no specific information as to what
   17 the apex witnesses know that these eight deponents would not.
   18               Further, Netlist’s argument that the apex witnesses must be produced because
   19 of purportedly inadequate interrogatory responses from Samsung is factually untrue
   20 and in any event, irrelevant here. Samsung has separately identified four other
   21 people who were involved in and have knowledge of the negotiations of the JDLA
   22
        4
        Netlist argues that the state of mind of the apex witnesses is relevant, but this is a
   23 red herring. What matters here is whether Samsung breached the two operative
   24 provisions of the JDLA: the supply provision of Section 6.2, and the taxation
      provision of Sections 3.1-2. This is not a fraud case that turns on intent. Even
   25 assuming in arguendo that the apex witnesses were involved in the conduct that
   26 resulted in the purported breaches, the state of mind of an individual executive is not
      relevant in determining the factual question of whether Samsung breached the JDLA
   27 or not.
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    1 in its supplemental response to Netlist’s Interrogatory No. 1, none of whom was Mr.
    2 Lee. 5 Samsung has given a detailed response explaining the reasons that some of
    3 Netlist’s orders were not accepted in its supplemental response to Netlist’s
    4 Interrogatory No. 2. 6 Moreover, even if Samsung had been uncooperative with
    5 written discovery, that does not support granting improper apex witness depositions.
    6 The correct remedy would be a motion to compel. Hayes Healthcare Servs., LLC v.
    7 Meacham, 2019 WL 7708240, at *2 (S.D. Fla. July 1, 2019) (“Defendants’ remedy
    8 when presented with inadequate discovery responses is not to seek the depositions
    9 of apex witnesses, but to avail themselves of legal remedies to acquire the discovery
   10 to which they may be entitled.”). If Netlist believes that Samsung’s responses to its
   11 written discovery were inadequate, then it can move to compel responses, as it has
   12 already done on several occasions. In effect, Netlist asks the Court to sanction
   13 Samsung for purported misbehavior by punishing a senior executive (and another
   14 senior executive who is not even a Samsung employee) with a deposition that would
   15 otherwise be improper. No legal basis exists for such a sanction.
   16               Further, the amount of time remaining until the close of fact discovery is
   17 immaterial here, particularly given that the situation is Netlist’s own making. Netlist
   18 has not been, as it claims, exceedingly diligent: it noticed depositions for the very
   19 first time on June 8, 2021 7, nearly a year after this action was filed. If these
   20 depositions were so important for Netlist, it could have noticed them earlier – but it
   21 did not. If the deposition of Mr. Choi was central to its case, Netlist had months to
   22 serve him properly under the Hague Evidence Convention – it did not. The Court
   23 should not permit Netlist to capitalize on its own delay by deposing apex witnesses
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            C. Lee Decl. Exh. C
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            C. Lee Decl. Exh. D
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   28       C. Lee Decl. Exh. E

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     1 without exhausting less intrusive methods. See Dauth, 2013 WL 4103443, at *2
     2 (denying request to depose an apex witness, but holding that it may be granted if the
     3 deposition of other witnesses proves insufficient).
     4               Netlist’s lack of diligence in attempting to obtain the deposition of these
     5 witnesses, coupled with its inability to articulate what unique information is sought
     6 that cannot be obtained from other depositions or document production, implies an
     7 improper purpose to gain a strategic advantage in this litigation by harassing
     8 Samsung’s senior executives (including a former employee). See Rookaird, 2015
     9 WL 11233096, at *2. If, after exhausting less intrusive discovery methods such as
    10 taking the deposition of other witnesses, Netlist identifies specific information that
    11 leads it to believe that an apex deposition would be necessary as to Mr. Lee, then the
    12 court may potentially give it leave to revisit this motion then. As of now, however,
    13 Netlist comes nowhere near satisfying the heavy burden imposed upon Parties
    14 seeking deposition of apex witnesses.
    15 IV.           Conclusion
    16               For the foregoing reasons, Samsung respectfully requests that the Court deny
    17 Netlist’s motion to compel depositions. Mr. Choi was never properly served with a
    18 lawful subpoena, and neither individual has been demonstrated to have “unique,
    19 first-hand, non-repeatable knowledge.” WebSideStory, 2007 WL 1120567 at *2.
    20
    21 DATED: July 27, 2021                        Respectfully submitted,
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                                                   Bird, Marella, Boxer, Wolpert, Nessim,
    23                                             Drooks, Lincenberg & Rhow, P.C.
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    25                                             By:         /s/ Ekwan E. Rhow
                                                                     Ekwan E. Rhow
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    27                                                   Electronics Co., Ltd.
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